Case 1:21-cr-00524-JHR Document 43-3 Filed 05/08/23 Page 1 of 13 PageID: 404




         Bfl
                        Bridgeton Police Department
  (J
                             Professional Standards Bureau
  *l                            I nternal Affairs Division

         il.J.                INVESTIGATION REVIEW FORM
                                                t-027-17



       On 08117 /2017 this file ryas turncd over to Chief Gaimari for revieu,.

FINDINGS BY CHIEF OF POLICE

   X fn. investigation was thoroughly conducted.
        The case needs further investigation:
       Specifically:



   X I agrec with the conclusion(s) rcached by the investigator.
         I disagrec rvith the conclusion(s) reached by the investigator.

       Specifically:



   X I agree rvith the recommcndation(s) made by the investigator.
         I disagree with the recom mendation(s) made by the investigator.

Additional or different recom mendations:
                                              SE     AIIISt$trN




                                             Chief of Police:
                                             I)a tc: 8i3l -l)
Case 1:21-cr-00524-JHR Document 43-3 Filed 05/08/23 Page 2 of 13 PageID: 405




                      Bridgeton Police Department
                            Professional Standards Bu rea u
                                Internal Affairs Division
                                      I   nternal lnvestigation
                                              t-027-2017


Complainant: Cify of Bridgeton                             Date: August 01,2017

Allegation : Excessive Force

Officer Involved: Officer J. Grie r

Date ofOccurrence: June 18,2017

Investigator: Sgt. C. Wright



lnvestigation:

    On June 27,2017,I received a Guardian Tracking Use of Force command
review from Lt. T. Speranza regarding case 17 -22598. Upon revierving same,
therc rycre several issues documentcd by Lt. T, Speranza with thc usc of forcc
used b1, Officer Grier during the incident. I assigned the investigation
Internal Affairs case number l-027-2017.

   On July 24, 2017 Officer Grier rvas notified of the lnternal Affairs
Investigation and ryas provided rvith the notification form which he signed.

   I revierved all of the available body rvorn camera footage, mobile video
recorder footage and all reports pertaining to the incident. During nr1,
investigation, I learned the follorving: On .lune 18,2Ol7 at approximately
0522 hours, Officer Young rvas dispatched to 69 W. Broad St., thc Riggins gas
station, for a report of trvo males sitting in a vehicle yelling profanities at
people as they walked by.
Case 1:21-cr-00524-JHR Document 43-3 Filed 05/08/23 Page 3 of 13 PageID: 406




  0fiicer Young was first to arrive on scene, followed by Officer Grier and
Iinally Ofricer Broomall. While on scene, Mart5r Drummond was identified as
the driver of the vehicle and AIan Campbell was identified as the passenger.
The keys to the vehicle were on the dash and there was no operation or intent
to operate the vehicle. The above Ofricers were initially on sceDe for several
minutes while OIIicer Young issued the males the appropriate summonses for
baving open alcoholic beverage containers. During this time, both males were
argumentative and appeared to be intoxicated or under the influence of
narcotics. Drummond was especially argumentative, notably with Ofricer
Grier, and continued to berate Officer Grier and curse. Drummond was
making comments such as ttYou're lucky I'm not out of the car" as well as
claiming to be a Navy Seal. It should be noted that while Oflicer Young was
issuing the summonses, Ofiicer Grier stood outside of the accused vehicle
while holding a small can of department issued pepper spray. Officer Young
and Ofricer Grier left the scene once Drummond and Campbell were issued
summonses and were advised not to drive the vehicle. Oflicer Broomall
remained on scene in his Police vehicle.

   At approximately 0556 hours, Oflicer Broomall reported via Police Radio
that the males had exited the vehicle and were approaching his Police Vehicle.
Ofricer Young and 0fficer Grier began responding back to the scene and both
of their BWC's started recording. While reviewing Ofricer Grier's BWC
footage from that time, he can be seen holding a large 18.5o2 can ofSabre Red
pepper spray in his hand as he drove back to the scene.

  Upon returning to the scene, Drummond was out of his vehicle and
approached Officer Grier. Drummond continued to yell and curce at Ofricer
Grier. Drummond asked for the working Sergeant, at which time Officer
Grier called Sergeant Hovermann via Police Radio and advised him of same.
Ofiicer Grier then told Drummond to have a seat in his vehicle or he was
locking him up. Drummond yelled racial slurs as he walked back to his
vehicle and sat in the driver's seat, along with Campbell in the passenger's
seat. A few seconds after the males entered their vehicle, Drummond pulled
away from the spot where the vehicle had been parked to the east side of the
gas station building. OIIicer Broomall was first to approach the driver's side
of the vehicle as Officer Grier drove his Police vehicle across the parking lot
Officer Grier exited his Police vehicle, again holding the large l8.5oz can of
Sabre Red pepper spray, and stated sthat's it, lock him up." Drummond
exited the vehicle and Officer Grier walked towards him stating, "Ron, step
back, step back, step baclc" Officer Broomall and OIIicer Young were
Case 1:21-cr-00524-JHR Document 43-3 Filed 05/08/23 Page 4 of 13 PageID: 407




already attempting to handcuff l)rummond at that point who did not appear
to be giving resist trce. As Drummond was handcuffed, Officer Grier pointed
the 18.5o2 can of pepper spray at his face and stated "Do you want to feel pain
Sir?" Officer Broomall escorted Drummond to the front of Police vehicle 708
to search him. Once at the vehicle, Ofricer Grier advised Drummond that he
chad plenty enough fucking chancest' which Oificer Broomall searched
Drummond. While Oflicer Broomall was maneuvering Drummond during
the search, the handcuffs appeared to cause Drummond discomfort and he
stated
       (Ouch." Officer Grier responded to Drummond sGood.' I)rummond
was speaking during the search explaining why he did what he did. Officer
Grier advised Drummond that he didn't "give a rats' and Ofricer Broomall
escorted Drummond to the rear passenger's side door of Police vehicle 708.
Once at the door, Officer Broomall opened same and advised Drummond to
get into the car. I)rummond stopped walking and turned towards Oflicer
Broomall and Officer Grier, asking what he was under arrest for. Ofricer
Grier pointed the 18.5o2 can of pepper spray at Drummond's face and yelled
*Get in (issued a burst of pepper spray) the fucking car." The burst of pepper
spray mainly struck Drummond on the right side of his face, causing him to
bend over. Drummond then sat on the seat, clearly affected by the pepper
spray, but his legs and feet remained outside. Officer Broomall stated "Get
it.' Ofricer Grier stated "I'm going to do it again" and issued another burst
from the l8.5oz pepper spray can to Drummond's face. Ofricer Grier
continued by yelling "There, how do you like it now? Now get in the God
damn car now, now! Drummond responded *Yes Sir" but barely moved his
legs into the vehicle. Oflicer Grier yelled "Now" again then pushed
Drummond on his upper body, causing him to fall back onto the seat and then
stated "Get in the fucking car. Pull your legs in. I'm going to give it to you
againltt Ofricer Broomall had walked to the rear of the vehicle due to being
affected by the pepper spray and can be heard telling Oflicer Grier that
Drummond has a bad hip and then stated "No John, back off." Sergeant
Hovermann had arrived on scene as well and approached Officer Grier,
pulled back on his outer vest and told OIIicer Grier to back off. The Oflicer
briefed Sergeant Hovermann of the incident and Drummond was transported
to Police Headquarters for processing. Drummond was charged with DWI
and resisting arrest. There were no further incidents with Drummond while
at Police Ileadquarters and he was subsequently released and transported
home by Officer Morris and Olficer Mora.

 After reviewing the Supplemental fnvestigation Report completed by Oflicer
Grier, I noted that he did not mention pushing Drummond into the Police
Case 1:21-cr-00524-JHR Document 43-3 Filed 05/08/23 Page 5 of 13 PageID: 408




vehicle after the arrest Drummond is described as acting aggressive as he
exited his vehicle to be handcuffed, but his actions on the BWC footage do not
show any aggressive behavior other than his argumentative language.
Furthermorg the report does not accurately reflect the actions by
Drummond. IVhereas it may have appeared that l)rummond was not obeying
Police commands to sit in the vehicle, he probably could not do so in an
instant mantrer because he has a bad hip.

  On July 28, 2017 at approximately 0812 hours, I accompanied Officer
Grier in the Professional Standards Bureau for an interview. Officer Grier
was rovided with the Administrati
Case 1:21-cr-00524-JHR Document 43-3 Filed 05/08/23 Page 6 of 13 PageID: 409




   In conclusion, f find that the actions of Officer Young, Ofricer Broomall
and Sergeant Hovermann were appropriate in the situation. Both Officer
Broomall and Sergeant Eovermann recognized Officer Grier's actions as
being excessive and told him to stop. Oflicer Young was with Campbell
during that time, and not near Ofiicer Grier to witness the incident after the
arrest

   The actions of Officer Grier and the force used were excessive in this
situation. The situation could have been de-esculated but Ofricer Grier
clearly became agitated with Drummond and did not give him time to comply
with the orders being given before deploying the large can of pepper spray.
Additionally, Officer Grier's action of forcefully pushing Drummond into the
Police vehicle was not mentioned                              rt.
                                                           It could be a logical
conc uslon that   was overlooked in the Investi tion Re           uti
noted on the




Recommendation:

   It is my recommendation that the excessive force complaint against Officer
Grier be sustained. The appropriate disciplinary action to be determined by
Chief Gaimari. I would also recommend that Oflicer Grier receive retraining
on report documentation.
Case 1:21-cr-00524-JHR Document 43-3 Filed 05/08/23 Page 7 of 13 PageID: 410




Completed            14a4

Sgt C. Wright#1020



                     '7
       Battavio #897
Case 1:21-cr-00524-JHR Document 43-3 Filed 05/08/23 Page 8 of 13 PageID: 411




                        Bridgeton Poli ce Departm ent
                                             330 Fayette St., Bridgeton, NJ 08302
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                                                               "!ffl rl:;;?!A"{":{ri:i l:"i
  August 31, 2017

  TO:             Sgt. C. Wright
  FROM:           Chief M. Gaimari

  RE: lO27-2O17


  ADDITIONAL OR DIFFERENT RECOMMENDATIONS

  With reference to the above internal investigation I concur with your findings that Ptlm.
  Grier utilized excessive force during the arrest ofthe subiect as depicted in your
  investigation report and video footage of the incident.

  After reviewing all available video footage of the incident, I belleve ftlm. Grier utilized
  the utmost de-escalation practices in the initial encounter with the subject in the wake
  of the subject's verbal assault.

  Actually, even during the second encounter up to the time the subject was placed under
  arrest, I believe ftlm. Grier's action were proper and in accordance with rules,
  regulations and policies along with the demeanor I expect from City of Bridgeton police
  officers.

  However, beginning with Ptlm. Grier's comments pertaining to the infliction of "pain" up
  until the subject was placed in the patrol vehicle, I believe his actions were improper,
  excessive and did not exemplify the conduct becoming or a Bridgeton police officer.

  I do not believe the subject was offering the resistance necessary for Ptlm. Broomall's
  actions, both verbally and physically, by slamming the subject on the vehicle
  FOILOWING the application of handcuffs, nor the immediate application of chemical
  agent utilized in two instances by Ptlm. Grier along with the physical contact initiated by
  Ptlm. Grier.

  I did not observe that the subject posed any threat to either officer nor did I observe any
  substantive physical resistance that would warrant the response from the officers I
  observed. ln addition, Ptlm. Grier's initial application of chemical agent also affected
  Ptlm. Broomall to the point that he had to release the subject from his grasp.
Case 1:21-cr-00524-JHR Document 43-3 Filed 05/08/23 Page 9 of 13 PageID: 412




  Notingthe AG Guidelines on Use of Force of which the department's policy is modeled
  as such:


  Authoization and Limitations

  A. Use of Force

  1. A law enforcement ofrcer may use physical force or mechanical force when
  the ofrcer reasonably believes it is immediately necessary at the time:

         a. to overcome resistance directed at the officer or others; or
         b. to protect the ofrcer, or a third party, from unlawful force; or
         c. to protect prcpefty; or
         d. to effect other lawful objectives, such as fo make an anesL


  One, I do not believe there was an "immediately necessa4/' situation to utilize such
  mechanical force, and two, I do not believe the resistance directed at the officers was of
  a nature or length to justify the actions as stated above. 1b, 1c and 1d ldo not feel apply
  as there was no threat to an officer or third party, no property to protect and the
  subject was already under arrest and in custody.

  ln conjunction with this case and l-04*2OL7, please prepare the necessary paperwork
  for ftlm. Grier for corrective action depicting a suspension period of three (3) days,
  thirty-slx (35).

  ln reference to Ptlm. Broomall's demeanor and use of physical force once the suspect
  was handcuffed, please prepare a letter of Repdmand for his actions as well.

  ln addition, please arrange through Capt. Battavio/Lt. Genovese a proper method of re-
  training ln the use of force continuum and demeanor for both Ptlm. Grier and Ftlm.
  Broomall.



               P,,
Case 1:21-cr-00524-JHR Document 43-3 Filed 05/08/23 Page 10 of 13 PageID: 413




            Bridgeton Police Department
                  Professional Standards Bureau
                        Internal Affairs Division
                      Administrative Interview Advisement
                                      l-027-17

      l. I am being questioned as part ofan investigation by this agency into
         potential violation of department rules and regulation or for my fitness
         for duty. This investigation concems a mles violation.

      2. This is an administrative investigation. I will be asked questions
         specifically, narrowly and directly related to the performance of my
         official duties.

      3. I may be subject to departmental discipline for refusing to answer a
         question directly related to the performance of my duties or for not
         answering truthfulty.

      4. I have the right to consult with a representative of my collective
         bargaining unit or another representative of my choice and have him
         or her present during the interview.

      5. IfI answer "l don't recall" or its equivalent to any question- upon
         recall I will document the answers to the investigator's attention.

      6. Any new information received, relating to this investigation, shall be
         irnmediately documented to the investigator's attention.

      7 You are ordered to have no communication with any witness in this
         case, concerning this case

         I do _do not /      wish to consult with a collective bargaining
         replesentatlve.

         Signature:
                                 a
                                            o*", '1ll?llr           rime, ogl f,-
                                            d(OzL,
         Witnes
Case 1:21-cr-00524-JHR Document 43-3 Filed 05/08/23 Page 11 of 13 PageID: 414




                    Bridgeton Police Department
                            Professional Standards Bureau
                                  Internal Affairs Division
                                       Det/Sgt. C. Wright #1020
                                  330 [ayette St., Bridgeton, NJ 08302
                                    Office: (856)451-0033 Ext. 123
                                          Fax: (856)451-0371




                         h'rtemal Affairs Complaint Notit'ication
                                         t-027-20t7


   l'o: Ptlm. J. Crier                        Badge Number: 1025

        You are hereby notified that an intemal affairs complaint has been
   made against you. This complaint involves an allegation of Excessive
   Force.

          This investigator will contact you when/if you will be needed for an
   lntervlew


                                                               i/o2a
                         Signature:
                                       DCrTSgl: ;--G--Wrigh1        102
                                           Date: 0711912017

                                                                                  / 02J-
                                                               ,)

                         S ignature of Rccipient:


                         Print Name:                                          ,

                                                    Date :                e
Case 1:21-cr-00524-JHR Document 43-3 Filed 05/08/23 Page 12 of 13 PageID: 415




        On September 19,2017 at 09l5hrs., I met with Ptlm. Grier in regards to a retraining issue
in reference lo IA-027 -201'7 (excessive force). I advised Ptlm. Grier that, due to the training
cycle coming up, that the Use of Force block will be his formal               I then reviewed the
incident with Ptlm. Grier in it's en




                                                  I advised Ptlm. Grier that his body cameras
would be subjected to a more intense review to insure that was the case.

        On this same date, at 1000hrs., I spoke with Ptlm. Broomall about this incident. I advised
Ptlm. Broomall that he would also be taking the Use of Force block upcoming in the near future
as his formal retraining and discussed his role in this arrest. I reviewed the body camera footage
and pointed out several issuss related to his demeanor, language and apparent escalation after the
hand cuffs were put on the arrestee. I    nted out that Ptlm. Broomall handled the incident
well       to the arrest.



                                                                                   I advised
Ptlm. Broomall that he will be subjected to a more intense review of his body camera and
interaction with the public.




                                                                 C*'/                                ?
Case 1:21-cr-00524-JHR Document 43-3 Filed 05/08/23 Page 13 of 13 PageID: 416



                           Bridgeton Police Department
                                   Professional Standards Bureau
                                        Internal Affairs Division
                                             Sgt. Christopher Wright #1020
                                          330 Fayette St.. Bridgeton, N..I.08302
                                              Office: (856)451-0033 Ext. 123
                                                   Fax: (856)451-0371

                                              t-077-2017




               To: Ptl. J. Grier                             Badge Number: 1025




        You are hereby notified the intemal affairs complaint made against you involving the
allegation of _Demeanor/ Excessive Force_, has been


                                                             -Sustained
Enlanation of findinz:
Sustained: Facts show the incident did occur and the allegation are valid
Not-Sustained: There is no factual basis to prove or disprove the allegation
Exonerated: The incident did occur, but you acted within your authority
Unfounded: The allegation did not occur


Should you have any further questions. feel free to conlact nre.

                                                                                            tz O2zs

                                                                   Sgt. Christopher Wright # I 020
                                                                   Date: 09/1812017
